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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                           CRIMINAL NO. 2:18-00151

MUHAMMED SAMER NASHER-
ALNEAM, M.D.


                     MEMORANDUM OPINION AND ORDER

      This matter is before the court on two motions in limine,

one filed by defendant and the other filed by the United States.

See ECF Nos. 238 and 247.      Those motions are ripe for decision.

                              I.   Background

      Defendant Muhammed Samer Nasher-Alneam, M.D. (“Dr. Nasher)

is a medical doctor licensed to practice medicine in the State of

West Virginia.    See ECF No. 223 at ¶ 1 (Third Superseding

Indictment).    From on or about July 2013 through February 2015,

Dr. Nasher owned and operated a medical practice called

"Neurology & Pain Center, PLLC," which, during that time, was

located at 401 Division Street, Suite 202 in South Charleston,

Kanawha County, West Virginia.       Id. at ¶¶ 2-3.      From about March

2015 through about February 2018, the defendant's medical

practice was located at 4501 MacCorkle Avenue SE, Suite A, in

Charleston, Kanawha County, West Virginia.          See id. at ¶ 3.     The

defendant leased the office spaces described above and was the

only practicing physician at Neurology & Pain Center, PLLC.             See

id.   During the relevant time period, Dr. Nasher had an active
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Drug Enforcement Administration (DEA) registration number that

allowed him to prescribe controlled substances, including

Schedule II, III, IV, and V controlled substances.           See id. at ¶

8.

     On July 26, 2018, the grand jury returned a 15-count

indictment against Dr. Nasher arising out of his activities in

connection with Neurology & Pain Center, PLLC.           See ECF No. 1.        A

second superseding indictment was returned on November 21, 2018,

charging defendant with illegal drug distributions, in violation

of 21 U.S.C. § 841(a)(1); illegal drug distributions resulting in

death, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C);

maintaining a drug-involved premises, in violation of 21 U.S.C. §

856(a)(1); and international money laundering, in violation of 18

U.S.C. § 1956(a)(2)(B)(ii).

     Trial on the second superseding indictment began on April

16, 2019.   A mistrial was declared on May 7, 2019.

     After the declaration of a mistrial, on June 12, 2019, Dr.

Nasher was charged in a forty-seven count third superseding

indictment charging him with various offenses related to

operation of his medical practice.        Specifically, defendant was

charged with the following:

     1)     health care fraud, in violation of 18 U.S.C. §
            1347 and § 2 (Counts One through Eleven and
            Fifteen through Twenty-four);




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        2)   health care fraud resulting in death, in violation
             of 18 U.S.C. § 1347 and § 2 (Counts Twelve through
             Fourteen);

        3)   illegal drug distributions, in violation of 21
             U.S.C. § 841(a)(1) (Counts Twenty-five through
             Thirty-eight);

        4)   illegal drug distributions resulting in death, in
             violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C)
             (Counts Thirty-nine through Forty-one);

        5)   maintaining a drug-involved premises, in violation
             of 21 U.S.C. § 856(a)(1) (Counts Forty-two and
             Forty-three); and

        6)   international money laundering, in violation of 18
             U.S.C. § 1956(a)(2)(B)(ii) (Counts Forty-four
             through Forty-seven).

See ECF No. 223.     The court granted defendant’s motion for

judgment of acquittal as to the money laundering counts and the

corresponding counts in the third superseding indictment were

dismissed.    See ECF No. 231.

        There has been and continues to be considerable disagreement

between the parties as to the evidence that is admissible in this

case.    That disagreement is highlighted in several motions

currently pending before the court: 1) defendant’s motion in

limine to preclude the government from offering evidence of his

overall practice; and 2) the government’s motion in limine to

prohibit defendant from offering evidence of his noncriminal

conduct.     (ECF Nos. 238 and 247).     The government has stated that

its decision to seek a third superseding indictment arose out of

adverse evidentiary rulings in the prior trial that are addressed


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in these motions in limine.       See ECF Nos. 248 and 215-2.        (noting

that “its objective in seeking a third superseding indictment

would be to address new circumstances occasioned by adverse

evidentiary rulings during the trial of this case”).

                          II.    Legal Standards

     The touchstone for the admissibility of evidence is

relevance.   See Fed. R. Evid. 402 (Subject to certain limited

exceptions, “[r]elevant evidence is admissible. . .             Irrelevant

evidence is not admissible.”).       Evidence is relevant if “it has

any tendency to make a fact more or less probable than it would

be without the evidence” and “the fact is of consequence in

determining the action.”        Fed. R. Evid. 401.    “The governing

hypothesis of any criminal prosecution, for the purpose of

determining relevancy of evidence introduced, consists of

elements of the offense charged and any relevant defenses raised

to defeat criminal liability.”       United States v. Lamberty, 778

F.2d 59, 60-61 (1st Cir. 1985).        The “basic standard of relevance

. . . is a liberal one.”        Daubert v. Merrell Dow Pharm., Inc.,

509 U.S. 579, 587 (1993).

     Federal Rule of Evidence 403 outlines several reasons which

permit a court to exclude otherwise relevant evidence.            According

to that rule, a “court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues,


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misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.”         Fed. R. Evid. 403.     “Because

the evidence sought to be excluded under Rule 403 is concededly

probative, the balance under Rule 403 should be struck in favor

of admissibility, and evidence should be excluded only

sparingly.”    United States v. Aramony, 88 F.3d 1369, 1378 (4th

Cir. 1996).

                            III.    Discussion

     Even a physician licensed under the Controlled Substances

Act (“CSA” or “the Act”) can be prosecuted under the Act.             See

United States v. Moore, 423 U.S. 122, 124 (1975) (holding “that

registered physicians can be prosecuted under § 841 when their

activities fall outside the usual course of professional

practice”); see also United States v. Tran Trong Cuong, 18 F.3d

1132, 1137 (4th Cir. 1994) (“[A] licensed physician who

prescribes controlled substances outside the bounds of his

professional medical practice is subject to prosecution and is no

different than a large-scale pusher.”) (internal quotation and

citation omitted).     Of the government’s burden of proof to

convict a defendant under § 841(a)(1),

     the prosecution is obliged to prove “that (1) [the]
     defendant knowingly or intentionally distributed the
     controlled substance alleged in the indictment, and (2)
     at the time of such distribution the defendant knew
     that the substance distributed was a controlled
     substance under the law.” United States v. Tran Trong
     Cuong, 18 F.3d 1132, 1137 (4th Cir. 1994). An enhanced
     analysis applies, however, to persons who are properly

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     registered with the DEA. Pursuant to 21 U.S.C. § 822,
     such persons—including doctors—are authorized to
     distribute controlled substances to the extent
     authorized by their registrations. . . .

United States v. Alerre, 430 F.3d 681, 689 (4th Cir. 2005).

Therefore, in order to obtain a conviction of Dr. Nasher under 21

U.S.C. § 841(a)(1), the government must prove that he: (1)

knowingly or intentionally distributed a controlled substance;

(2) with knowledge that it was controlled under the law; and (3)

that he did so “outside the usual course of professional

practice.”   United States v. McIver, 470 F.3d 550, 556 (4th Cir.

2006) (quoting Moore, 423 U.S. at 124).         “[A] doctor’s good faith

generally is relevant to a jury’s determination of whether the

doctor acted outside the bounds of medical practice or with a

legitimate medical purpose when prescribing narcotics.”            United

States v. Hurwitz, 489 F.3d 463, 476 (4th Cir. 2006).

     With respect to a conviction under 21 U.S.C. § 856, the

government must prove that Dr. Nasher: (1) opened, leased,

rented, used, or maintained the premises identified in the

indictment, either permanently or temporarily; (2) did so

knowingly; and (3) did so for the purpose of illegally

distributing the controlled substances identified in the

indictment not for legitimate medical purposes in the usual

course of professional medical practice and beyond the bounds of

medical practice.     The government does not have to prove that

illegal drug dealing was the sole purpose for which Dr. Nasher

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maintained his medical practice.         However, it must prove beyond a

reasonable doubt that illegal drug dealing was a primary or

principal reason the defendant maintained his medical practice.

See Tr. 189-5; see also United States v. Russell, 595 F.3d 633,

644 (6th Cir. 2010).

     In United States v. Robinson, 255 F. Supp. 3d 199, 201

(D.D.C. 2017), a case cited by defendant and relied on previously

by the court, the defendant was charged with 61 counts of writing

prescriptions for oxycodone outside the usual course of

professional practice and not for a legitimate medical purpose,

in violation of 21 U.S.C. § 841(a)(1).         Relying on Federal Rule

of Evidence 403, the Robinson court prohibited the government

from offering “evidence of Defendant’s `practice as a whole[.]’”

Id. at 202.    The court found “that the probative value of this

Rule 404(b) evidence is substantially outweighed by these dangers

to the extent it implicates Defendant’s entire practice

(including some 1,800 patients).         To allow the government to

present evidence implicating hundreds of other patients and

prescriptions would improperly overshadow the actual conduct

charged in this case.”      Id. at 204-05 (emphasis in original).

The Robinson court did not consider whether “overall practice

evidence” would be admissible in a prosecution under 21 U.S.C. §

856 because no such charge was pending.




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     Robinson also moved to exclude evidence regarding patients

not specifically named in the indictment.          See id. at 201.     The

Robinson court permitted the government to introduce evidence of

“a reasonable number” of patients not specifically named in the

indictment.    Id. at 203, 205 (“The Court finds that evidence of

similar uncharged illegal drug prescribing activity is

theoretically proper under Rule 404(b) because it tends to prove

Defendant’s intent and absence of mistake when he issued the

charged prescriptions.”).      Citing Robinson, the court previously

allowed evidence regarding patients not specifically named in the

superseding indictment under Rule 404(b) with respect to the drug

distribution counts.     The court excluded evidence regarding

defendant’s practice as a whole.         See ECF No. 139 at 2-3.

However, the absence of § 856 charges in Robinson1 limits the

usefulness of that decision to this case.2


     1
       See Robinson, 255 F. Supp.3d at 203 (“[T]he Court
clarifies for the record that with respect to the counts brought
under section 841, which relate only to 61 prescriptions issued
to 11 patients, the government is not required to prove the
nature of Defendant’s overall practice.”).
     2
       If the two premises charges were not involved, the result
might well be different. See, e.g., United States v. Ifediba,
CASE NO. 2:18-CR-0103-RDP-JEO, 2019 WL 2578123, *2 (N.D. Ala.
June 24, 2019) (granting motion in limine to prevent defendants
charged in health care fraud and conspiracy to commit health care
fraud from offering “evidence of good care and positive
experiences of patients at [medical establishment] other than
those instances specifically set forth in the Indictment”);
United States v. Hung Thien Ly, No. 12-16580, 543 F. App’x 944,
946 (11th Cir. Nov. 4, 2013) (holding that “district court did
not abuse its discretion in precluding [physician defendant] from

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     The two premises counts essentially charge defendant with

running a pill mill from 2013 to 2018.         And, as noted above, in

order to obtain a conviction under § 856, the government must

show that illegal drug dealing was a primary or principal reason

for which the defendant established his medical practice.

Therefore, evidence regarding the overall scope of defendant’s

medical practice is relevant to proving the elements of the

crime, i.e., whether Dr. Nasher’s alleged distribution of

controlled substances not for a legitimate medical purpose was a

“primary or principal” purpose for his medical practice.

Accordingly, with respect to these two counts, evidence

concerning defendant’s overall practice is not Rule 404 evidence

but, rather, evidence relevant to the charges.           See United States

v. Cole, 488 F. Supp.2d 792, 805 (N.D. Iowa 2007) (testimony from

cooperating witness that “he observed the traffic coming and

going from [defendant]’s residence is closely and inextricably

intertwined with the charged crime of maintaining premises for

drug crimes. . . .     Indeed, such evidence goes to the heart of

the issue of whether [defendant] knowingly opened, maintained,

managed, controlled, and made available for use his residence for

the purpose of unlawfully storing, distributing, and using crack



introducing evidence that he discharged other patients who
allegedly violated his screening protocols. This evidence is not
probative of his intent with respect to the patients who received
drugs covered by the indictment.”).

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cocaine, all in violation of 21 U.S.C. § 856(a)(1) and (2), so

that it is, in the court’s view, `direct’ evidence of the crime

of maintaining premises for drug crimes.”).

     The government has to prove that the “primary or principal

purpose” of defendant’s medical practice was to unlawfully

distribute controlled substances.        To that end, overall practice

evidence of the type the government seeks to introduce herein is

widely used in prosecutions involving medical establishments

under 21 U.S.C. § 856.     See United States v. Li, NO. 3:16-CR-

0194, 2019 WL 1126093, *2, 9-10 (M.D. Pa. Mar. 12, 2019)

(admitting as evidence in prosecution against physician under 21

U.S.C. §§ 841(a)(1), 861(f), and 856(a)(1): the complete medical

record of every patient in practice; testimony from nineteen

former patients; testimony from eight pharmacists “regarding

concerns with the frequency and strength of the prescriptions for

opioids prescribed” by defendant; testimony from an expert who

had reviewed the files of 60 patients although only 24 patients

were named in indictment; PDMP data “for all prescriptions

written by [defendant] from January 2011 through January 2015";

and ARCOS data from area pharmacies between 2011 and 2015);

United States v. Singleton, 19 F. Supp.3d 716, 728 (E.D. Ky.

2014) (holding that “[t]estimony from employees, criminal

informants, former employees, and law enforcement all supported a

finding that [defendant] maintained [ ] clinics for the purpose


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of dispensing controlled substances” where evidence demonstrated

that defendant “was closely involved in overseeing the operations

of the clinic, demanded the physicians increase their patient

load, and set his own guidelines for the physicians with regard

to prescribing medication”); United States v. Sadler, No. 1:10-

CR-098, 2012 WL 3527084, *5 (S.D. Ohio Aug. 15, 2012) (holding

that “[t]here was sufficient evidence to support the jury’s

conclusion that [defendants] were maintaining the clinic premises

`for the purpose’ of unlawfully dispensing and distributing

controlled substances” where evidence included “mass-produced

features of patient charts, the remarkable similarity of the

regimen of drugs prescribed and dispenses to clinic clients, and

the character of the clientele as described by neighboring

tenants and by pharmacists who refused to fill their

prescriptions”); see also United States v. Evans, 892 F.3d 692,

696-98 (5th Cir. 2018) (allowing overall practice evidence in

prosecution for conspiracy to distribute controlled substances,

in violation of 18 U.S.C. § 371, and distributing controlled

substances without a legitimate medical purpose and outside the

course of professional practice, in violation of 21 U.S.C. § 841,

including: (1) testimony from neighboring establishment

recounting a high number of out-of-state patients at defendant’s

practice, long lines at medical practice, and observation that

defendant’s patients acted like drug addicts, leading testifying


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witnesses to suspect that defendant was running a “pill mill”;

and (2) testimony from defendant’s employee regarding how

“practice worked” including how she (a medical assistant) “would

fill out a prescription based on the patient’s chart” and a

system whereby which a patient could get 90 days of pills from

only one office visit”)

     As to evidence regarding patients not specifically named in

the indictment, that evidence is not 404(b) evidence but, rather,

“intrinsic and relevant” with respect to the premises charges

and, therefore, admissible.      United States v. Li, NO. 3:16-CR-

0194, 2019 WL 1126093, *11 (M.D. Pa. Mar. 12, 2019).           As the Li

court explained:

     Dr. Li insists that several witnesses were permitted to
     testify at his trial as Rule 404(b) witnesses.
     Specifically, Dr. Li notes that the Government
     presented testimony from several of Dr. Li’s former
     patients at trial that he was not charged with
     individual counts of controlled substance distribution
     violations. In opposition, the Government asserts that
     Dr. Li fails to appreciate that he was charged in
     Counts 26 and 27 with maintaining drug involved
     premises. The Government concludes that the testimony
     offered by former patients that were not identified in
     the Superseding Indictment was not in fact Rule 404(b)
     evidence but was intrinsic and relevant to the drug
     involved premises charges. The Government is correct.
     Counts 26 and 27, as stated, charged Dr. Li with
     maintaining drug involved premises at his business
     offices. To prove that crime, the Government was
     required to establish, inter alia, that Dr. Li
     maintained those places for the purpose of distributing
     or dispensing controlled substances outside the usual
     course of professional practice and not for a
     legitimate medical purpose. While several of Dr. Li’s
     former patients [who] testified at trial were not named
     in individual counts in the Superseding Indictment,

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      that testimony was pertinent to establishing that the
      distribution of controlled substance[s] was one of the
      primary or principal uses for which Dr. Li’s offices
      were maintained. The testimony from any of Dr. Li’s
      patients, including those not identified in the
      Superseding Indictment, was relevant to these charges.

Id.
       Accordingly, courts have routinely not limited the

introduction of such evidence.       Cf. United States v. Gowder, No.

6:17-CR-25-REW-HAI, 2019 WL 112307, *6 (E.D. Ky. Jan. 2, 2019)

(allowing evidence regarding deceased patients not charged in the

indictment in prosecution for conspiracy to operate a pill mill);

      Despite its request of the court to be permitted to offer

evidence beyond the specific patients charged in the indictment,

the government has filed a motion in limine seeking to prohbit

defendant from doing the same thing.        See ECF No. 247.      In that

motion, the government seeks the exclusion of any evidence

offered by the defendant that “he purportedly (1) distributed

controlled substances for legitimate medical purposes and within

the bounds of a professional medical practice; (2) provided

medically sound care to patients who are not the subject of the

charges in the Third Superseding Indictment; or (3) submitted

accurate and reimbursable claims to Medicare or other health care

benefit programs.”     Id. at 1.    Characterizing such evidence as

“noncriminal conduct, or prior `good acts,’” the government

argues that “[a]ny such evidence should be excluded, as it is

irrelevant and could distract the jury from determining whether


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the defendant illegally distributed controlled substances to the

patients who are the subjects of specific counts in the

indictment.”     Id. at 1-2.   Apparently, the government wants to

have it’s cake and eat it too.

     Just as it is clear that overall practice evidence and

evidence related to patients not specifically named in the

indictment is intrinsic to the premises charge, it is equally

clear that it would be necessary for a physician defending such a

prosecution to be able to offer evidence regarding the purpose of

his practice.3    The evidence offered by the physician defendant

would almost certainly need to go beyond the evidence of the

illegal distribution charges.       See United States v. Li, NO. 3:16-

CR-0194, 2019 WL 1126093, *3 (M.D. Pa. Mar. 12, 2019) (allowing

physician defendant to offer testimony from former patients as

well as his own testimony regarding the overall practice

including “that he had approximately 2000 patients in his


     3
       If the two premises charges were not involved, the result
might well be different. See, e.g., United States v. Ifediba,
CASE NO. 2:18-CR-0103-RDP-JEO, 2019 WL 2578123, *2 (N.D. Ala.
June 24, 2019) (granting motion in limine to prevent defendants
charged in health care fraud and conspiracy to commit health care
fraud from offering “evidence of good care and positive
experiences of patients at [medical establishment] other than
those instances specifically set forth in the Indictment”);
United States v. Hung Thien Ly, No. 12-16580, 543 F. App’x 944,
946 (11th Cir. Nov. 4, 2013) (holding that “district court did
not abuse its discretion in precluding [physician defendant] from
introducing evidence that he discharged other patients who
allegedly violated his screening protocols. This evidence is not
probative of his intent with respect to the patients who received
drugs covered by the indictment.”).

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practice between 2010 and 2015 and that ninety percent of those

patients were for pain management”, “that he rejected 98

individuals as patients due to lack of records and that over 200

individuals were rejected after their records were reviewed”,

that “458 patients were discharged”, and “of his approximate 1700

pain management patients, 204 were not prescribed opioids”).

     Of the types of evidence which a defendant might offer, the

case of United States v. Evans is instructive.          Although Evans

did not involve a premises count, it did deal with a conspiracy

prosecution.   In that case, Evans was permitted to offer

extensive overall practice evidence in his defense.

          “The defense case was that Evans ran a legitimate
     pain-management clinic. Through cross-examination of
     Government witnesses and calling former employees,
     Evans drew out the parts of his practice that did not
     involve prescribing drugs, the precautions his office
     took, and that many of his patients had suffered
     debilitating injuries and experienced real pain.

          Evans established that his practice involved more
     than pain-management patients. He still saw some car
     accident, workers’ compensation, and cancer patients,
     as well as some patients requiring minor surgeries and
     seeking help with their weight. He was also certified
     to administer Suboxone, a medication designed to treat
     opioid addiction, and saw some patients suffering from
     addiction.

          To explain why his pain-management patients were
     driving the several hours from Louisiana to Houston,
     Evans established that the cost of appointments in
     Houston was lower. In 2008, Louisiana tightened its
     laws on pain medications, making it difficult for pain
     patients to see doctors and increasing the cost of
     doctors’ visits. Texas, on the other hand, did not
     impose such hurdles, and Evans could charge low-income
     and uninsured patients substantially less.

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          Evans also drew out evidence about his clinic’s
     practices and precautions. When a new pain-management
     patient came in, the patient would have to fill out
     paperwork, submit a recent MRI, and present a pharmacy
     printout of current prescriptions. To verify that the
     MRI was correct, a member of Evans’s staff would call
     the MRI facility to make sure it was legitimate. If an
     MRI was confirmed as a fake, the patient’s appointment
     would be cancelled. If an MRI was too old, Evans would
     order a new one.

          Among the forms new patients had to sign were a
     patient contract and a pain-management agreement. Both
     agreements warned of the dangers of drug abuse and set
     forth general rules which, if violated, would result in
     the end of treatment. Under the agreements, patients
     were prohibited from “doctor shopping” (that is,
     visiting multiple doctors to obtain multiple
     prescriptions), “pharmacy shopping” (same idea as
     doctor shopping), selling their drugs, or using drugs
     at greater than the prescribed rate. Patients also
     promised to honestly communicate, submit to drug tests,
     and bring excess drugs on visits. Evans also used a
     prescription-drug-monitoring database to confirm that
     patients were not doctor shopping. Several patients’
     files reflected that they were discharged for violating
     these agreements. On top of these agreements, Evans
     had his patients perform two types of risk-assessment
     tests—the SOAPP and the COMM.

          Evans also established that his pain management
     practice involved more than just churning out
     prescriptions. New pain-management patients were given
     brochures on the benefits of stretching and another on
     nonsurgical treatment for soft-tissue injuries. On
     visits, before a patient would see Evans, they would be
     weighed, have their blood pressure taken, and be shown
     exercises to help with their pain. Patients might then
     receive a massage, ultrasound, electric stimulation, or
     peg board (a device used to loosen tight muscles)
     treatment to help with the pain. Patients were also
     encouraged to do stretching at home and were given a
     journal to track their stretching. Patients would be
     asked to rate their pain, and the staff would keep
     track of it.

          After all of these preparations, Evans would see
     the patient in an examination room. Evans called Rhoda

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     Mann, his other assistant, to testify about what
     happened in the room. According to Mann, Evans would
     perform a physical examination, checking painful areas.
     Evans would then, according to Mann, decide whether to
     prescribe the patient a controlled substance. Mann
     admitted that most of the time, she would fill out the
     prescription and then have Evans sign it. On occasion,
     the assistant would retrieve a pre-signed prescription
     from Evans’s safe. According to Mann, Evans would pre-
     sign prescriptions so that when he was out of town his
     patients would not go into withdrawal.

Evans, 892 F.3d at 700-02.

                             IV.   Conclusion

     Based on the foregoing, defendant’s motion in limine

concerning “overall practice” evidence is DENIED.           The

government’s motion in limine to prohibit defendant from offering

evidence of his noncriminal conduct is also DENIED.           Consistent

with this Memorandum Opinion and Order, the parties will be

permitted to offer relevant, noncumulative evidence regarding Dr.

Nasher’s overall practice and patients not specifically named in

the indictment.    With respect to the health care fraud scheme,

the government may offer evidence of uncharged executions of that

scheme.   See United States v. Bajoghli, 785 F.3d 957, 963 (4th

Cir. 2015) (“[W]hen the government charges a defendant under §

1347 with a scheme to defraud and elects to charge only some of

the executions of that scheme, its election does ot limit its

proof to only the charged executions.        It may introduce other

evidence of uncharged executions to prove the scheme.”).




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     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, to the United States

Marshal for the Southern District of West Virginia, and to the

Probation Office of this court.

     IT IS SO ORDERED this 23rd day of July, 2019

                                   ENTER:


                                    David A. Faber
                                    Senior United States District Judge




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